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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           FORT LAUDERDALE DIVISION
                                www.flsb.uscourts.gov

In re:                                                             Chapter 11

LIBERTY POWER HOLDINGS, LLC,                                       Case No. 21-13797-SMG

         Debtor.

                                            /

                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of Notice of Hearing [ECF No. 27]

on Debtor’s Expedited Application for Authority to Employ and Retain on an Interim and Final

Basis, Paul J. Battista and the Law Firm of Genovese Joblove & Battista, P.A. as General

Bankruptcy Counsel for Debtor –in-Possession Effective as of April 20, 2021 [ECF No. 18] was

served via electronic mail and CM/ECF Notification upon all interested parties registered to

receive electronic notification and/or via U.S. Mail or e-mail as indicated on the Service List

below on this 23rd day of April, 2021.

                                            Respectfully Submitted,

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                                            Proposed Attorneys for Debtors-in-Possession
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Served Via U.S. Mail
All parties on the attached mailing matrix.




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